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Elements               Roberson                     Joaquin                          Perez                         Nguyen

Identity of claimant   PLAINTIFFS:                  PLAINTIFFS:                      PLAINTIFFS:                   PLAINTIFF:
                       J ulie ROBERSON,             ANGELA JOAQUIN                   DONEYDA PEREZ,                THU HONE THI NYGUYEN d/b/a
                       Brandon Roberson                                              DAP~i~Y i~iSSEN, MARLYS       l7S NaiPs
                                                                                     NISSEN, JOSEPH ANGELO,
                       DEFENDANTS:                  DEFENDANTS:                      GREGORY LAPLANTE,             DEfENDAiVTS:
                       DIRECN,                      DIRECN                           PAUL HOLT                     DIRECTV
                       LONSTEIN LAW OFFICE,         VERIZON,
                       GARY YOUNG                   LONSTEIN LAW OFFICE,             DEFENDANTS:                   THIRD PARTY DEFENDANTS:
                                                    SIGNAL AUDITING                  DIRECTV,
                                                    J ULIE LONSTEIN,                 LONSTEIN LAW OFFICE,          LONSTEIN LAW OFFICE,
                                                    WAYNE LONSTEIN                   SIGNAL AUDITING,              SIGNAL AUDITING,
                                                                                     J ULIE LONSTEIN,              JULIE LONSTEIN
                                                                                     !~lAYl~E L~NSTElN



Theory for Relief      Deceptive Trade Practices    Deceptive Business Practices,    18 USC §1962(c)               GFBPA
                       U nlawful §17.46b            N.J.S.A. 2C:21-7(h)
                       Breach of Warrant §17.50     Attempted Extortion, N.J.S.A.     Mail Fraud 18 U.S.C. §1341   O.C.G.A X10-1-390
                                                    2C:20-4(a j
                       Common Law Fraud                                              Wire Fraud 18 U.S.0 §1343     RICO,18 U.S.C. X1961
                                                    Mail Fraud, 18 U.S.C. § 1341
                       Conspiracy
                                                    Attempted Extortion under the
                        Racketeer Influenced and    Hobbs Act, 18 U.S.C. § 1951(a)
                       Corrupt Organizations
                       (RICO) —18 U.S.C. §1962(c)

                       Mental Anguish
Timing/Location                  2013                            2015                      2012 through 2017       2016

                                  Texas                       New Jersey                       California          Tennessee
